Case 1:19-cv-02963-PGG Document 15 Filed 07/23/19 Page 1 of 2

Case 1:19-cv-02963-PGG Document14 Filed 07/22/19 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
ep pe ee x

 

In re

RUNWAY LIQUIDATION
HOLDINGS, LLC, et al.,!

Debtors.
---- x

 

NYAM, LLC,
Appellant,
VS.

DAVID MACGREEVEY, in his capacity as
PLAN ADMINISTRATOR,

Appellee.
x

 

Case No. 19-02963 (PGG)

SCHEDULING STIPULATION RELATING TO APPELLEE’S

RESPONSE DEADLINE TO FILE ITS RESPONSE TO APPELLANT’S BRIEF

This Scheduling Stipulation is entered into by and between plaintiff, David MacGreevey,

solely in his capacity as plan administrator in the above-captioned chapter 11 case (“Appellee”)

and Defendant NYAM, LLC (“Appellant”).

WHEREAS, Appellant filed its notice of appeal, In the Unites States District Court for

the Southern District of New York, from the Order Granting Plaintiff's Motion for Partial

Summary Judgment, dated March 13, 2019.

_ WHEREAS, on May 30, 2019, Appellant filed its Appellant Brief [Docket No. 8] and

Appendix [Docket Nos. 8-1 to 8-12]; and

 

' A list of the Post-Effective Date Debtors in these chapter 11 cases, along with the last four digits of each Post-
Effective Date Debtor’s federal tax identification number include: Runway Liquidation Holdings, LLC (6857);
Runway Liquidation, LLC (5942); Runway Liquidation Intermediate Holdings, LLC (3673); MR Liquidation,

LLC (9200); and MMH Liquidation, LLC (3854).

DOCS_NY:39378, 1 08467/00!

 
Case 1:19-cv-02963-PGG Document15 Filed 07/23/19 Page 2 of 2
Case 1:19-cv-02963-PGG Document 14 Filed 07/22/19 Page 2 of 2

WHEREAS, on July 16, 2019, the Court entered a scheduling order extending the
Appellee’s deadline to respond to Appellant’s Brief to July 22, 2019 (the “Response Deadline”)
{Docket No. 13]; and

WHEREAS, the parties have reached a settlement in principle.

WHEREAS, the parties have agreed to extend the Response Deadline pending the
finalization of settlement documentation:

IT IS HEREBY STIPULATED AND AGREED THAT

1. The Response Deadline is extended through August 5, 2019.

2. Appellant shall file any reply in the support of its appeal on or before August 19,

 

 

2019.
Dated: July 22, 2019 Dated: July 22, 2019
GRIFFIN HAMERSKY LLP PACHULSKI STANG ZIEHL & JONES LLP
By: _/s/ Michael D. Hamersky By: _/s/ Beth E. Levine
Scott A. Griffin Robert J. Feinstein
Michael D. Hamersky Bradford J. Sandler
Richard kK. Milin Beth E. Levine
420 Lexington Avenue, Suite 400 780 Third Avenue, 34 Floor
New York, NY 10170 New York, NY 10017
Telephone: (646) 998-5580 Telephone: (212) 561-7700
Facsimile: (646) 998-8284 Facsimile: (212) 561-7777
Email: seriffin@eriffiegal.com Email: — rfeinstein@pszjlaw.com
mhamersky@erifflegal.com bsandler@pszjlaw.com
rmilin@egrifflegal.com blevine@pszjlaw.com
Counsel to Appellant Counsel to Appellee
SO ORDERED:

 

 

HONORABLE PAUL G. GARDEPHE
UNITED STATES DISTRICT JUDGE

DOCS_NY-39378,1 08467/001

 
